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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                 v.                               :
                                                  :      CRIMINAL NO. 21-cr-670 (CJN)
STEPHEN K. BANNON,                                :
                                                  :
                 Defendant.                       :

     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR A HEARING

        The United States hereby opposes defendant’s Motion for a Hearing, ECF 185 (“Motion”).

I.      Introduction.

        Seven months after he was sentenced, the defendant now attempts to dredge up complaints

and allegations that were previously raised and addressed.      The defendant neither points to any

new facts nor seeks any specific relief. 1     Instead, the defendant lodges reckless allegations –

accusing the government of bad faith and of lying to the Court.         The Court should reject the

defendant’s attempt to taint these proceedings and stigmatize the prosecutors with baseless

misconduct claims.      Inasmuch as the defendant’s accusations are baseless, there is no reason for

a hearing.     The motion should also be denied because it is untimely.




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            In his proposed Order, the defendant requests:

        (A) A copy of any and all subpoenas and Orders that were issued and that were
        directed to third parties in an effort to obtain email and telephone records for Robert
        J. Costello, Esq. (or any counsel for Mr. Bannon), along with all documents
        submitted in connection with any and all applications for any such court Order or
        subpoena; and (B) A list of all third parties on whom a subpoena, court Order or
        other process was served in the effort to obtain email and telephone records for
        Robert J. Costello, Esq. (or any counsel for Mr. Bannon).

Motion at 5. But, as set forth below, the government has already provided all relevant documents
to the Court and the defendant.
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II.    Procedural Posture.

       At the conclusion of a four-day trial, on July 22, 2022, a jury found the defendant, Stephen

K. Bannon, guilty of two counts of Contempt of Congress.      ECF No. 135, Verdict Form. The

defendant filed post-trial pleadings, which raised numerous substantive and procedural claims.

ECF Nos. 141, 142, 144, 146.    The Court denied the defendant’s post-trial motions on September

2, 2022.    ECF No. 147, Order Denying Motion for New Trial and Supplement to Motion to

Dismiss.    On October 21, 2022, this Court sentenced the defendant to four months’ incarceration.

ECF No. 161, Judgment.     The defendant filed his Notice of Appeal on November 4, 2022.      ECF

No. 166.    And the case is now pending before the D.C. Circuit.

       On January 4, 2023, the defendant filed a “Notice Of Outstanding Issue Regarding

Government Misconduct” (ECF # 182) (“Notice”).       Then, on May 30, 2023, ten months after the

verdict, nine months after the Court denied the defendant’s post-trial motions, and seven months

after sentencing, the defendant filed his Motion, in which he resurrects his pretrial complaints

about the government’s investigation of the telephone and email records of his original attorney,

Robert Costello.

III.   The Defendant’s Belated Motion Should be Denied.

       The defendant’s assertions of government misconduct are baseless.           Moreover, the

defendant’s Motion is untimely.    The Motion, therefore, should be denied.

A.     The Government’s Investigative Steps Were Appropriate and Taken in Good Faith.

       As he has done repeatedly, the defendant accuses the government of misconduct.         This

time, the defendant claims the government improperly sought the grand-jury subpoenas and Stored

Communications Act (“SCA”) Orders associated with Mr. Costello’s telephone and email

accounts and misled the Court with respect to the legal process associated with Mr. Costello’s

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records.     See Notice at 4-5.   The government conducted an appropriate investigation and acted

in accordance with its discovery and ethical obligations.

          The government has disclosed to the defendant all of the materials it received in response

to the subpoenas and SCA Orders.        In response to the defendant’s Motion to Compel, ECF No.

26, the government provided the Court and the defendant with the underlying grand-jury

subpoenas and SCA applications.       See March 16, 2022, Tr. at 90-92.     When the Court inquired

of the government as to the basis for obtaining these materials, the government explained its

rationale on the record.    Id. at 80-81.   And when it became clear that the defendant would not

dispute that he knew of the Congressional subpoena, the government agreed not to introduce any

evidence regarding Mr. Costello’s records.     See July 11, 2022, Tr. at 29.

          Nevertheless, the defendant has claimed that the justification for seeking Mr. Costello’s

records was “specious” and a “pretextual lie.” See Notice at 4-5.         But he has never identified

any improper purpose that motivated the government’s conduct.        The government never sought

the contents of any communications, much less communications that implicated the attorney-client

privilege.    See ECF No. 31 at 13-14 (compiling cases finding that records that show only the dates

and times of communications between and attorney and client are not privileged); see also United

States v. Suggs, 531 F. Supp. 2d 13, 23 n. 16 (D.D.C. 2008) (“It is the substance of the

communications which is protected . . . not the fact that there have been communications.”)

(citations omitted).

          Moreover, the government had a valid reason to seek the grand-jury subpoenas and SCA

Orders.      In order to prove contempt of Congress, the government was required to show that the

defendant willfully failed to comply with a Congressional subpoena. See March 16, 2022, Tr. at

87-89 (Court describing elements of offense, including discussion of willfulness).            As the

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government has repeatedly pointed out, the government bore the burden of proving the essential

elements of the offense, including the defendant’s knowledge of the subpoena.       See id. at 11-13.

All the communications between the Select Committee and the defendant passed through Mr.

Costello.    Accordingly, the government issued grand-jury subpoenas and obtained SCA Orders—

two of the most common-place legal tools used in criminal investigations—that sought basic

subscriber information and toll records regarding telephone numbers and email addresses the

government had reason to believe belonged to Mr. Costello.      As the government explained, these

were directed specifically at establishing defendant’s knowledge and notice of the subpoena.     See

ECF 36-1, Surreply at 1-2.

       The defendant has tried to twist these routine investigative steps in a misguided attempt to

cast aspersions on the prosecution.     Chiefly, the defendant argues that his knowledge of the

subpoena was never in dispute, so these investigative steps were unnecessary.      See Notice at 4-5.

While it is true that the defendant eventually conceded that he knew of the subpoena, the

government conducted its investigation before the defendant made this concession.                The

government could not predict which defenses or legal theories the defendant might choose to raise

or whether those theories might shift from one defense to another as the case progressed.        See,

e.g., Estelle v. McGuire, 502 U.S. 62, 69–70 (1991) (“In the federal courts, ‘[a] simple plea of not

guilty . . . puts the prosecution to its proof as to all elements of the crime charged.’”).   Had the

defendant claimed Mr. Costello did not communicate to him the existence of the subpoena, for

example, the nature and timing of their communications would have been highly relevant.           As

the government pointed out when addressing this issue with the Court, defendant’s attacks are

classic examples of “Monday morning quarterbacking.” See March 16, 2022, Tr. at 80.



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        Relatedly, the defendant attempts to impugn the integrity of the investigation by invoking

internal DOJ policies regarding subpoenas issued to attorneys.        See Notice at 6.    Specifically,

the defendant contends the government “shockingly represented” that DOJ policy did not require

supervisory approval in order to obtain the subscriber information and toll records for Mr.

Costello’s accounts. Id.     But there is nothing shocking about the government’s representations

to the Court.   As the government explained the first time the defendant raised this issue, the DOJ

guidance is clear on its face:   approval is only required for subpoenas issued “to an attorney” and

it is not required for subpoenas issued to third parties, such as service providers.   See DOJ Manual

§ 9-13.410. 2



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           In any event, the guidance explicitly states that it does not create any rights or
circumscribe otherwise lawful investigative steps. Id. at § 9-13.410 (F). See also United States
v. Caceris, 440 U.S. 741, 755-756 (1979) (failure of law enforcement agent to follow internal
guidelines does not give rise to an enforceable right); United States v. Williams, 827 F.3d 1134,
1152 n.7 (D.C. Cir. 2016) (finding policy in DOJ Manual “not judicially enforceable in a criminal
case) (citations omitted).

        Accordingly, the defendant’s questions about the government’s compliance with its own
policies is misplaced. It is not appropriate to inquire as to how the government implements its
internal policies. “Article III of the Constitution limits the exercise of the judicial power to
‘Cases’ or ‘Controversies,’” a “fundamental limitation” that “preserves the ‘tripartite structure’ of
our Federal Government, prevents the Federal Judiciary from ‘intrud[ing] upon the powers given
to the other branches,’ and ‘confines the federal courts to a properly judicial role.’” Town of
Chester, New York v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (citation omitted). “Our
legal system does not contemplate an inquisitorial role for federal judges.” In re United States,
398 F.3d 615, 617 (7th Cir. 2005) (per curiam). Particularly when dealing with actions of the
Executive Branch, separation of powers principles constrain the courts’ inherent and supervisory
authority. See, e.g., Laird v. Tatum, 408 U.S. 1, 15 (1972) (separation of powers forbids courts
from becoming “continuing monitors of the wisdom and soundness of Executive action”); Perkins
v. Lukens Steel Co., 310 U.S. 113, 131 (1940) (“The interference of the courts with the performance
of the ordinary duties of the executive departments of the government, would be productive of
nothing but mischief; and we are quite satisfied that such a power was never intended to be given
to them.”) (citation omitted).

       On the rare occasions when a district court has attempted to supervise prosecutorial
decision making, the appellate courts have prohibited such actions. See, e.g., In re United States,
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        The defendant has also claimed that the government targeted Mr. Costello’s social-media

habits and sought information extending back to March 2021, months before the Select Committee

issued the subpoena to the defendant.     See Notice at 3.    This is incorrect.   The government

provided both the Court and the defendant with the relevant subpoenas and SCA applications.

See March 16, 2022, Tr. at 90-92 (Court notes it reviewed documents in camera and confirms the

government’s offer to produce the underlying documents to defendant).        Thus, as the defendant

is well aware, the legal process at issue sought only telephone numbers and email accounts and

was limited to September and October 2021, the dates relevant to the investigation.      See March

16, 2022, Tr. at 90-91.   Defendant’s contention that the government’s subpoenas and SCA Orders

were overbroad is meritless.

        Finally, the defendant criticizes the government for obtaining records belonging to a

different “Robert Costello,” who was not involved in the defendant’s representation.     See Notice

at 6.   The defendant claims that the government “simply [made] up email addresses that had some

form of the name Robert Costello.” Id.       Relatedly, the defendant claims that the government




503 F.3d 638, 643 (7th Cir. 2007) (issuing writ of mandamus, precluding the court from “requiring
access to information about ongoing investigations or deliberations within the Executive
Branch.”). The circuit court noted that while the district court’s inquiry consisted of “questions a
United States Attorney might well ask of an Assistant United States Attorney; they are not
appropriate questions for the Judicial Branch to ask of the Executive Branch.” Id. at 641. The
court also noted that “[m]ultiple privileges cover the internal deliberations of the Executive
Branch, just as they do for the Judicial Branch’s internal deliberations.” Id.; see also In re United
States, 398 F.3d at 618 (finding that “[t]he fundamental problem with [the court’s] inquiry is that
the United States Attorney is not answerable to a judge for the deliberations among his staff . . .
[t]he intra-office conversations and memoranda that the judge wants to see are covered by multiple
privileges . . . [h]ow the United States reaches its litigating positions, who said what to whom
within the prosecutor’s office, and so on, are for the Attorney General and the President to evaluate
. . . [although] [j]udges often are tempted to seek a larger role in the conduct of litigants, [that]
temptation must be resisted in order to maintain separation between executive and judicial roles.”).

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submitted an SCA application based on “recklessly and demonstrably false representations,” and

that the government’s failure to correct the mistake reflects a lack of candor to the Court.     Id.

These accusations are baseless and belied by the record.         With respect to this process, the

government mistakenly included an ultimately irrelevant email address.       See ECF No. 36-1 at 3-

4.     But, “[s]ometimes investigations take wrong turns or hit dead-ends,” and sometimes,

“investigative paths are pursued based on a mistaken belief.”        Id.   Making a mistake, while

pursuing investigative leads with the goal of obtaining potentially relevant evidence, does not

constitute bad faith. Nor does the defendant offer any plausible theory – because there is none –

as to why the government would take such action in bad faith.

B.       The Defendant’s Belated Motion Re-Raises Fully Litigated Issues and Does Not Seek
         a Remedy.

         As the defendant has conceded, the grand-jury subpoenas and SCA orders associated with

Mr. Costello’s telephone and email records were the subject of extensive litigation before this

Court.    See Notice at 1-2.   Indeed, the Court addressed the subject during multiple hearings,

reviewed the subpoenas and SCA documents in camera, and issued rulings limiting the use of any

information obtained pursuant to the documents. See, e.g., March 16, 2022, Tr. at 61-90; June

15, 2022, Tr. at 129-30; July 11, 2022, Tr. at 137.   The Court found no prejudice to the defendant,

however, and declined to dismiss the indictment for that reason. See June 15, 2022, Tr. at 129-

30.    The Court expressed some concern with the government’s conduct, but it noted that the issue

should be resolved “after trial[,] not during it.” June 15, 2022, Tr. at 129-30; July 11, 2022, Tr.

137.

         Notwithstanding the Court’s invitation, the defendant did not raise the issue of Mr.

Costello’s records after the jury returned its verdict. The defendant conducted extensive post-


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trial litigation.   See, e.g., ECF No. 141 (supplement to previously filed Motion to Dismiss); ECF

No. 142 (motion for a new trial).    Yet at no point in the post-trial proceedings—when the parties

were still before the Court and available to answer questions about the specific legal process

involved—did the defendant raise any issue about Mr. Costello’s records.          Once the defendant

filed his notice of appeal on November 2, 2022, the proceedings before this Court should have

concluded.     Instead, the defendant waited an additional two months to “remind” the Court of the

“relevant events and chronology,” Notice at 2, regarding Mr. Costello’s records and an additional

five months to file his Motion requesting a hearing.

        Although the government does not dispute this Court’s jurisdiction to consider the Motion,

the timing of the filing and the failure to request any specific relief suggest that the defendant is

merely attempting to manufacture a controversy where there is none.          And although the Court

stated that questions about Mr. Costello’s records should be resolved after trial, it did not grant the

defendant license to forgo raising this issue until some indefinite point in the future.   Because the

defendant failed to raise any purported outstanding issue in a timely fashion, this Court should not

condone the defendant’s efforts to draw out this matter.




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IV.    Conclusion

       In sum, the defendant fails to point to anything improper about the government’s conduct

in the investigation in this matter. Nor does he sustain his claim about lack of candor to the Court.

The Court should not indulge defendant’s attempt to malign the prosecution—particularly when

the claims are baseless and untimely.    The defendant’s motion should, therefore, be denied.



                                              Respectfully submitted,


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